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                               THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN
                                        EASTERNDIVISION
                                                DIVISION

                                                       :
Lifestyle Communities, Ltd., et al.
__________________________________                     :              22-CV-01775
                                                            Case No. _________________
                                                       :    Judge: ___________________
                                                                    Sarah D. Morrison

                 v.                                    :    Corporate Disclosure Statement
                                                       :
City of Worthington, Ohio
__________________________________                     :
                                                       :

        Pursuant to the Corporate Disclosure Statement provisions in Local Civil Rule 7.1.1: Any non-
governmental corporate party to a proceeding must file a Corporate Affiliations/Financial Interest
statement identifying all of its parent, subsidiary and other affiliate corporations and listing any publicly
held company that “controls, is controlled by, or is under common control with a publicly controlled
corporation.” A party must file the statement upon filing a complaint, answer, motion, response or other
pleadings in this Court, whichever occurs first. The obligation to disclose any changes will be continuing
throughout the pendency of this case.

         In Compliance with those provisions, this Corporate Disclosure Statement is filed on behalf of:

         Worthington Campus, LLC
         _______________________________________________________________________.

1.       Is said party a parent, subsidiary or other affiliate of a publicly owned corporations?

         ___ YES          ___ NO

         If the answer is YES, list below the identity of the parent, subsidiary or other affiliate corporation
         and the relationship between it and the named party:
         ________________________________________________________________________
         ________________________________________________________________________

2.       Is there a publicly owned corporation, not a party to the case, that has a financial interest in the
         outcome?

         ___ YES          ___ NO

         If the answer is YES, list the identity of such corporation and the nature of the financial interest.
         ________________________________________________________________________
         ________________________________________________________________________
         ________________________________________________________________________

         Joseph R. Miller
         ______________________________                               March 24, 2022
                                                                      ________________________
         Signature of Counsel                                         Date


                                           “Certificate of Service”

              COUNSEL ARE REMINDED OF THEIR CONTINUING OBLIGATION
                   TO UPDATE AND SUPPLEMENT THIS STATEMENT
